The relief described hereinbelow is SO ORDERED.

SIGNED this 19th day of July, 2017.




_________________________________________________________________________



                  IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF KANSAS


IN RE:
      Mark H Engen
      Maureen E. Engen
                         Debtors,                      Case No: 15-20184-13

               ORDER GRANTING TRUSTEE'S MOTION TO ALLOW
               AMENDED CLAIM 9 OF ECAST SETTLEMENT CORP

       THIS MATTER comes on for consideration upon the Chapter 13 Trustee’s Motion to
Allow Amended Claim No. 9 of ECAST SETTLEMENT CORP. After reviewing the file and
hearing recommendations of the Trustee the Court finds the claim of ECAST SETTLEMENT
CORP should be, and hereby is, treated as follows:

      As a UNSECURED claim in the amount of $1,508.30 at 0.00% Interest. Percent
Allowed: 0.00

      PLEASE NOTE:
                                               ###




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Prepared and Approved by:

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